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                              United States Court of Appeals
                                  for the Fourth Circuit
                                       No. 19-4392

                                    ____________________

                                        United States,
                                         Appellee,
                                             v.
                                        Eric Grinder,
                                         Appellant.
                                    ____________________

                        Appeal from the United States District Court
                                for the District of Maryland
                                  No. 1:17-cr-00226-CCB-1
                                   ____________________

                                  Appellant’s Opening Brief



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                                   Jurisdictional Statement

              The district court had jurisdiction over this criminal case under 18

        U.S.C. § 3231. The court entered judgment on May 24, 2019, sentencing

        Appellant Eric Grinder to 30 years in prison and a lifetime of supervised

        release. J.A. 820-23.1

              Mr. Grinder filed a timely notice of appeal on May 31, 2019. J.A. 828.

        This Court’s jurisdiction arises under 28 U.S.C. § 1291.




              1 The Joint Appendix is cited as “J.A.,” followed by the page number.
        The Sealed Joint Appendix is cited as “S.J.A.,” followed by the page
        number.
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                                    Issues Presented

              1.   Whether a warrant authorizing police to seize any and all
                   cell phones from Mr. Grinder’s home was overbroad,
                   where police had reason to believe Mr. Grinder and his
                   phone were not at the home.

              2.   Whether investigators exceeded the scope of a warrant for
                   Mr. Grinder’s laptop by searching in the computer’s files
                   for evidence that would be found only in his internet
                   browser’s search history.

              3.   Whether the follow-up warrants for Mr. Grinder’s laptop
                   and cell phone were an “independent source” of the
                   evidence against him, where images illegally seized from
                   his laptop motivated investigators’ decision to seek those
                   warrants.

              4.   Whether investigators unreasonably waited four months
                   to obtain a follow-up warrant for Mr. Grinder’s cell
                   phone.



                                  Statement of the Case
              A.   Application for state warrant

              On November 29, 2016, Detective John Emminizer of the Westminster

        City Police Department and Master Trooper Danielle Barry of the

        Maryland State Police submitted an application for a search warrant to a

        Maryland state judge. S.J.A. 1-5. The application asserted probable cause

        to believe officers would find evidence of five crimes—child abuse of a

        minor, second-degree rape, sexual offense in the second degree, sexual

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        offense in the third degree, and sexual abuse of a minor—in Mr. Grinder’s

        home, where he lived with his wife, Alesha Grinder (“Alesha”), and their

        ten-year-old daughter, Jane Doe.2 S.J.A. 1.

              The affiants alleged that on the evening of November 27, 2016, Jane

        Doe told Alesha that Mr. Grinder, who was Jane Doe’s adoptive father,

        “ha[d] been sexually abusing her.” S.J.A. 2. During an interview with the

        Carroll County Advocacy and Investigation Center on the morning of

        November 28th, Jane Doe reportedly said the abuse began when she was

        eight years old and last occurred about a week previously. S.J.A. 2-3. She

        alleged that on several occasions, Mr. Grinder touched her vagina with his

        hand and his penis, penetrated her vagina with his penis, and “pushed her

        mouth to his [penis] and put it in her mouth.” S.J.A. 3. Jane Doe also said

        that Alesha and Mr. Grinder sometimes gave her cough medicine at night,

        which made her sleepy. S.J.A. 3.

              According to the affidavit, Alesha reported that to treat her insomnia,

        she takes Clonazelam, a “Benzodiazepine class of drug” that Mr. Grinder




              2 Below, the parties used various pseudonyms to refer to the victim in
        this case, who is a minor. Mr. Grinder refers to her in this brief as Jane
        Doe.
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        “orders . . . via the Internet and has[] sent to the house.” S.J.A. 3. Alesha

        told police that on the night of the 27th, after learning of Jane Doe’s

        allegations, she observed Jane Doe to be “tired and barely responsive.”

        S.J.A. 3. She then tasted the Robitussin in a bottle in Jane Doe’s room,

        which she “assumed [Mr. Grinder] had just given [to Jane Doe],” and

        determined that it tasted like Clonazelam. S.J.A. 3. A “home drug testing

        kit,” administered the next morning, “indicated [Jane Doe] tested positive

        for Benzodiazepines.” S.J.A. 4. In addition, Alesha told investigators that

        after she injured her back two weeks previously, Mr. Grinder had offered

        her a powdery substance called U-771 to treat the pain. S.J.A. 4.

              The affidavit asserted that on the afternoon of November 28th,

        Alesha informed Mr. Grinder of Jane Doe’s allegations, which Mr. Grinder

        denied. S.J.A. 4. She told police that Mr. Grinder then “left the house and

        she currently does not know where he is.” S.J.A. 4. In a series of text

        messages beginning around that time, Alesha again accused Mr. Grinder of

        abusing Jane Doe, and Mr. Grinder again denied the accusations. S.J.A. 4.

        When Alesha urged Mr. Grinder to “come home,” he responded, “Come

        home with a controlled substance I bought for you that I’ll get in trouble

        for.” S.J.A. 4.
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              B.    Issuance of the state warrant

              At 6:15 p.m. on November 29th, a Maryland state judge signed a

        warrant (“the state warrant”) finding probable cause to believe that Mr.

        Grinder’s home, located at 261 Montpelier Court in Westminster,

        Maryland, contained evidence of the five sex crimes enumerated in the

        application. S.J.A. 7. The state warrant described the items to be seized as

        follows:

              evidence relating to the crimes of Sex Abuse of a Minor, 2nd
              Degree Sexual Offense, 3rd Degree Sexual Offense, Rape 2nd
              Degree, Sex Abuse of a Minor-Continuing Course of Conduct,
              to include but not limited to crime scene processing; to include
              photographs, drawings/measurements, DNA/Biological
              evidence collection; bedding, prescription and non-prescription
              medication to include but not limited to Clonazelam and U-771,
              home drug testing kits, invoices/receipts for mail order
              medications, cell phones, computers, hard drives, media
              storage devices, etc.

        S.J.A. 6.

              Among other things, the state warrant authorized officers to:

               “[e]nter and search the residence as completely described above
                for evidence of the aforementioned crimes to include the
                curtilage”;

               “[s]eize all evidence found in or upon said premises and its
                curtilage”;

               “[s]eize and have forensically analyzed by a qualified person or
                persons any cellular telephones seized”; and

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               “[s]eize and have forensically analyzed by a qualified person or
                persons any computers, hard drives, [and] media storage devices.”

        S.J.A. 6-7.

              C.      Execution of the state warrant

              Michael Lare, a corporal with the Carroll County Sheriff’s Office,

        arrived at Mr. Grinder’s home at 5:06 p.m. on the 29th, while the state

        judge was still reviewing the warrant application. J.A. 94-95, 100-01. After

        knocking on the front door and receiving no answer, Corporal Lare

        lingered on the front porch, waiting for detectives and crime scene

        technicians to show up. J.A. 102. Mr. Grinder pulled up in a car at 5:56

        p.m. and parked in the driveway. J.A. 103. As Mr. Grinder stepped out of

        the car, Corporal Lare approached, identified himself, explained that he

        was there to execute a search warrant, and asked for Mr. Grinder’s house

        keys and cell phone, which he said would be subject to the warrant. J.A.

        103. Mr. Grinder relinquished his keys, reached into the car to retrieve his

        phone from the center console, and handed the phone to Corporal Lare.

        J.A. 104.

              Deputy David Roys of the Carroll County Sheriff’s Office arrived

        around 6:05 p.m. to begin executing the state warrant. J.A. 105-06. Among

        the items officers seized from the house was a Toshiba laptop. S.J.A. 16.
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              D.    Federal search warrants

              On December 19, 2016, state police handed over Mr. Grinder’s cell

        phone and laptop to members of Homeland Security Investigations (HSI), a

        branch of the federal Department of Homeland Security. J.A. 221. HSI

        investigators did nothing with those devices until February 7, 2017, when a

        “forensic analyst” “imaged” the laptop. J.A. 221. During an examination

        of the laptop on February 16, 2017, the analyst discovered what he believed

        to be images of Jane Doe performing fellatio on an adult male and touching

        an adult male’s penis. J.A. 221; S.J.A. 16. He also discovered “two known

        images of child pornography,” which he recognized from previous

        investigations into child exploitation. S.J.A. 16. The investigator then

        suspended his examination of the laptop. S.J.A. 17.

              On March 16, 2017, investigators asked Jane Doe’s aunt to look at a

        “sanitized” image from the laptop that, investigators believed, depicted

        Jane Doe. S.J.A. 17. She confirmed that the child in the image was her

        niece. S.J.A. 17.

              On March 17, 2017, HSI Special Agent Richard Federico submitted an

        application for search warrants to a federal magistrate judge in the District

        of Maryland. S.J.A. 19. The application recounted the sexual-abuse

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        allegations from the state warrant affidavit, the November 29th search of

        Mr. Grinder’s home, and the HSI forensic analyst’s subsequent

        examination of the laptop, including his discovery of suspected images of

        child pornography. S.J.A. 13-17. The application further alleged that: (1) in

        a December 2, 2016 follow-up interview with police, Alesha reported that

        Jane Doe said Mr. Grinder had “used his cell phone to videotape [Jane Doe]

        performing oral sex on [Mr. Grinder] and then ‘put it on the TV’”; (2) a

        December 16, 2016 medical exam of Jane Doe revealed “indications of a

        history of sexual abuse, including the child’s absence of her posterior

        hymen, which was diagnostic of prior penetrating trauma to the vagina.”

        S.J.A. 16.

              Based on this information, Agent Federico sought authorization to

        search Mr. Grinder’s cell phone and the laptop for evidence of production,

        receipt, and possession of child pornography. S.J.A. 9. The magistrate

        judge issued warrants for those devices (“the federal warrants”) on the

        afternoon of March 17th. S.J.A. 64-75.

              Acting pursuant to the federal warrants, the HSI analyst conducted a

        further examination of Mr. Grinder’s laptop, his cell phone, and the SD



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        card within the phone. See J.A. 352-53. That search revealed images of

        child pornography on all three devices. J.A. 356, 384-87, 399-405, 412-33.

              E.    Indictment and motion to suppress

              On April 26, 2017, a grand jury returned an indictment charging Mr.

        Grinder with three counts of producing child pornography, in violation of

        18 U.S.C. § 2251(a), and two counts of possessing child pornography, in

        violation of 18 U.S.C. §§ 2252(a)(4)(B), 2256. J.A. 13-17.

              Mr. Grinder filed a motion to suppress all evidence seized from the

        laptop, the cell phone, and the SD card. J.A. 48-60.3 He contended the state

        warrant was overbroad because it authorized police to seize any and all

        electronic devices at Mr. Grinder’s home, without regard to their particular

        connection to any criminal activity. J.A. 53-57. The seizure of the cell

        phone and laptop was therefore illegal. In addition, he argued, even if the




              3 The grand jury handed up a third superseding indictment on
        January 23, 2019. J.A. 38-47. That indictment, which is the charging
        instrument on which Mr. Grinder proceeded to trial, included five counts
        of production of child pornography, one count of attempted production of
        child pornography, two counts of possession of child pornography, and
        one count of witness tampering. J.A. 38-46. The various child
        pornography counts were based on images found on the laptop (Counts
        One and Seven), the cell phone (Counts Five, Six, and Eight), and the SD
        card (Counts Two, Three, and Four). J.A. 38-45.
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        state warrant permitted officers to seize the cell phone and laptop, it did

        not permit them to search—i.e., conduct a forensic examination of—the

        computer. J.A. 55-57. A full-blown forensic examination of the laptop was

        beyond the scope of the state warrant. J.A. 55-57. Finally, Mr. Grinder

        argued the federal warrants were tainted by the evidence illegally obtained

        pursuant to the state warrant. As a result, evidence recovered during the

        follow-up searches of his devices was inadmissible as fruit of the poisonous

        tree. J.A. 58-59.

              The government filed a response in opposition and, subsequently, a

        letter citing supplemental authority. S.J.A. 36-56; J.A. 85-86. In a response

        to that letter, Mr. Grinder identified an additional basis for concluding

        police violated his Fourth Amendment rights—namely, that the nearly

        four-month delay between officers’ unlawful, warrantless seizure of his cell

        phone, in November 2016, and their application for a warrant to search it,

        in March 2017, was unreasonable. J.A. 88. Evidence recovered from the

        phone therefore had to be suppressed, he argued. J.A. 88.

              After holding an evidentiary hearing, at which it heard testimony

        from Corporal Lare, the district court entered a written order denying Mr.

        Grinder’s motion. J.A. 92-110. The court held the state warrant affidavit
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        established probable cause to believe that Mr. Grinder “used an Internet

        connected device to illegally purchase drugs in furtherance of the abuse of

        [Jane Doe]” and that he “used a cell phone to discuss both the purchase of

        those drugs and his alleged abuse of [Jane Doe].” J.A. 185. The state

        warrant therefore properly authorized police to seize and search Mr.

        Grinder’s cell phone and laptop, the court held. J.A. 185. Because seizure

        and search of the phone were lawful under the state warrant, the court

        held, there was no “delay” in obtaining a warrant to search the phone. J.A.

        189. In addition, the court concluded the state warrant was not overbroad

        because it authorized only the seizure of electronic devices linked to “the

        specified set of crimes supported by probable cause,” i.e., the sexual-abuse

        crimes identified in the affidavit. J.A. 186.

              As for Mr. Grinder’s argument that the initial examination of his

        laptop exceeded the scope of the state warrant, the district court held that

        “a forensic search of a laptop, authorized by a warrant, includes ‘the

        authority to open and cursorily view each file.’” J.A. 190 (quoting United

        States v. Williams, 592 F.3d 511, 523 (4th Cir. 2010)). Because evidence of

        Jane Doe’s sexual abuse “could have been located anywhere on the

        laptop,” the court held, examiners were justified in conducting a full-scale
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        search of the computer. J.A. 190. The magistrate judge was therefore

        permitted to consider fruits of the initial laptop search when issuing the

        federal warrants, and those warrants were valid as a result. J.A. 190-91.

               F.   Motion to reconsider

               On February 12, 2019, Mr. Grinder filed a motion asking the district

        court to reconsider its denial of his suppression motion. J.A. 196-201. Mr.

        Grinder cited to this Court’s recent opinion in United States v. Pratt, 915

        F.3d 266 (4th Cir. 2019), which held police unreasonably waited 31 days to

        seek a search warrant for a cell phone they had lawfully seized. J.A. 197-98.

        Mr. Grinder contended that Pratt demonstrated investigators’ four-month

        delay in obtaining the federal warrants in his case was unreasonable. J.A.

        198-200. As a result, he argued, all evidence recovered pursuant to those

        warrants—which included images on his cell phone, the SD card, and his

        laptop—should be suppressed. J.A. 198-200.

               The district court denied Mr. Grinder’s reconsideration motion. J.A.

        311.

               G.   Trial and sentencing

               Mr. Grinder repeatedly offered to accept a guilty plea that would

        preserve his right to appeal the denial of his suppression motion. J.A. 194.


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        When the government refused that suggestion, as well as Mr. Grinder’s

        offer to conduct a streamlined trial based on stipulated facts, the parties

        proceeded to a three-day jury trial. J.A. 194-95.

              At trial, the government introduced evidence of the images found on

        Mr. Grinder’s laptop, cell phone, and SD card. J.A. 272-96, 337-433.4 Mr.

        Grinder did not put on a defense, and the jury convicted him on all counts.

        J.A. 759-60.

              The district court sentenced Mr. Grinder to a total of 360 months in

        prison, to be followed by a lifetime term of supervised release. J.A. 822-23.

        Mr. Grinder filed a timely notice of appeal. J.A. 828.



                                  Summary of the Argument

              The district court erred by denying Mr. Grinder’s motion to suppress.

              First, the state warrant was overbroad insofar as it authorized seizure

        of any and all cell phones and computers at Mr. Grinder’s home. The

        affidavit established Mr. Grinder owned a cell phone and had used an




              4 The government also introduced evidence pertaining to the witness-
        tampering count. That count alleged that after being arrested, Mr. Grinder
        asked his sister to urge Jane Doe to recant her allegations. J.A. 296-306.
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        internet-connected device to purchase drugs, but it provided no basis to

        conclude he owned a computer. Even if he did own a computer, there was

        no reason to believe either that computer or Mr. Grinder’s cell phone

        would be at his house at the time of the search, since Mr. Grinder had left

        the home with his phone the day before and had no immediate plans to

        return. Moreover, by permitting seizure of devices not belonging to Mr.

        Grinder, the warrant outstripped the supporting affidavit’s probable cause.

              Second, even if the state warrant authorized police to seize the laptop,

        it did not permit them to search the laptop’s files, in which they found

        child pornography. The only information in the affidavit tying the laptop

        to the crimes enumerated in the warrant (sexual abuse, etc.) was an

        allegation that Mr. Grinder used the internet to buy narcotics that he gave

        to Jane Doe. And the only place in the computer such evidence might be

        found was Mr. Grinder’s internet browser history. The HSI analyst

        therefore exceeded the scope of the state warrant when, during the initial

        examination of the laptop, he searched locations other than the browser

        history.

              Third, the federal warrants were tainted by the evidence investigators

        illegally seized from the laptop, and the derivative evidence recovered
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        pursuant to those warrants is not admissible under the independent source

        doctrine. That doctrine allows admission of evidence discovered by illegal

        means if police subsequently discover the same evidence pursuant to a

        validly issued warrant—but only so long as the initial unlawful discovery

        did not affect either (1) officers’ decision to seek the warrant or (2) the

        magistrate’s decision to grant it. Neither requirement is satisfied here.

        Agent Federico applied for the federal warrants one day after confirming

        the images on the laptop depicted Jane Doe, and several months after

        learning all other information supporting his affidavit. This timeline

        strongly suggests the illegally seized images affected investigators’

        decision to seek the federal warrants. As for the second requirement,

        Agent Federico’s affidavit, shorn of any reference to those images, fails to

        establish probable cause to search the laptop.

              Fourth, even if, as the government argued below, police could seize

        Mr. Grinder’s cell phone without a warrant based on exigent

        circumstances, they waited nearly four months to seek a warrant to search

        it. This delay unreasonably infringed his possessory interest in the phone.

              This Court should reverse and remand with instructions to grant Mr.

        Grinder’s motion to suppress.
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                                          Argument
        I.    The state warrant was overbroad because the supporting
              affidavit did not demonstrate probable cause to seize Mr.
              Grinder’s cell phone or laptop from his home.
              A.    Standard of review

              When “[a]nalyzing a district court’s decision to deny a motion to

        suppress, [this Court] review[s] legal conclusions de novo and factual

        findings for clear error.” United States v. Seerden, 916 F.3d 360, 364 (4th Cir.

        2019).

              B.    Argument
                    1.    Legal background

              “The Fourth Amendment protects individuals from ‘unreasonable

        searches and seizures,’ and provides that ‘no Warrants shall issue, but

        upon probable cause, supported by Oath or affirmation, and particularly

        describing the place to be searched, and the persons or things to be

        seized.’” United States v. Drummond, 925 F.3d 681, 686 (4th Cir. 2019).

        Probable cause exists “where the known facts and circumstances are

        sufficient to warrant a [person] of reasonable prudence in the belief that

        contraband or evidence of a crime will be found in a particular place.”

        United States v. Perez, 393 F.3d 457, 461 (4th Cir. 2004).




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              In determining whether a search warrant is supported by probable

        cause, the “crucial” question is “whether it is reasonable to believe that the

        items to be seized will be found in the place to be searched.” United States

        v. Lalor, 996 F.2d 1578, 1582 (4th Cir. 1993); see also, e.g., United States v.

        Wienke, 733 F. App’x 65, 69 (4th Cir. 2018) (unpublished) (same); Wyoming

        v. Houghton, 526 U.S. 295, 302 (1999) (“The critical element in a reasonable

        search is not that the owner of the property is suspected of crime but that

        there is reasonable cause to believe that the specific ‘things’ to be searched

        for and seized are located on the property to which entry is sought.”). If

        such a belief is unreasonable, then the warrant affidavit fails to establish a

        sufficient “nexus” between the items sought and the location of the search.

        United States v. Lull, 824 F.3d 109, 119 (4th Cir. 2016).

              A warrant may properly authorize the seizure of numerous items at

        one time—but only if “there is probable cause for each item on the list.”

        United States v. Ninety-Two Thousand Four Hundred Twenty-Two Dollars and

        Fifty-Seven Cents, 307 F.3d 137, 148 (3d Cir. 2002) (emphasis added); see also

        In re Grand Jury Subpoenas Dated Dec. 10, 1987, 926 F.2d 847, 857 (9th Cir.

        1991) (“[P]robable cause must exist to seize all the items of a particular type

        described in the warrant.” (emphasis added)); United States v. Hurwitz, 459

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        F.3d 463, 473 (4th Cir. 2006) (“The Fourth Amendment requires that a

        warrant be no broader than the probable cause on which it is based.”). This

        “probable cause rule” is designed to “protect privacy by prohibiting a

        general, exploratory rummaging in a person’s belongings.” United States v.

        Weber, 923 F.2d 1338, 1342 (9th Cir. 1990).

                    2.    The state warrant was not supported by probable
                          cause to search Mr. Grinder’s home for his cell
                          phone and laptop.

              Here, Detective Emminizer and Trooper Barry’s affidavit established,

        at most, probable cause to believe Mr. Grinder (1) owned a cell phone, and

        (2) had used the internet to order some kind of drug that he gave to Jane

        Doe. But it did not demonstrate any reason to believe he owned any

        internet-connected devices other than a cell phone, e.g., a laptop. Virtually

        all cell phones today feature internet connectivity, so the fact that Mr.

        Grinder ordered drugs online provides no reason to believe he owned or

        had access to a computer. Indeed, cell phones’ “immense storage capacity”

        and functional versatility render computers increasingly unnecessary for

        many people. See Riley v. California, 573 U.S. 373, 393 (2014) (“The term ‘cell

        phone’ is itself misleading shorthand; many of these devices are in fact

        minicomputers that also happen to have the capacity to be used as a


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        telephone. They could just as easily be called cameras, video players,

        rolodexes, calendars, tape recorders, libraries, diaries, albums, televisions,

        maps, or newspapers.”).

              Nor did the state warrant affidavit establish probable cause to believe

        that, if Mr. Grinder did own a computer, either that computer or his cell

        phone would be located at 261 Montpelier Court. Indeed, the affidavit

        suggested the opposite. The affiants informed the state court judge that

        Alesha said Mr. Grinder had “left the house” the day before, and “she

        currently does not know where he is.” S.J.A. 4. They also recounted that

        when Alesha asked Mr. Grinder to come home, he refused to do so because

        he was afraid he would “get in trouble” for the controlled substance he had

        purchased. S.J.A. 4. Given that “nearly three-quarters of smart phone

        users report being within five feet of their phones most of the time,” id. at

        395, it would be strange to expect to find Mr. Grinder’s cell phone at a

        home he had left and to which he had no immediate plans to return.

              For the same reason, it is unreasonable to conclude that, if Mr.

        Grinder owned a laptop, he would have left it at 261 Montpelier Court

        before leaving the residence. Someone who leaves his home with no

        immediate plans to return would likely take important personal items like
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        a laptop with him—especially when, as the affiants alleged was the case

        here, those items contain evidence of a serious crime.

              The state warrant affidavit did not make it “reasonable to believe that

        the items to be seized w[ould] be found in the place to be searched.” Lalor,

        996 F.2d at 1582. Put differently, the affidavit did not establish probable

        cause to believe a “nexus” existed between “the place to be searched” (261

        Montpelier Court) and “the items to be seized” (Mr. Grinder’s cell phone

        and any laptop he may—or may not—have owned). Lull, 824 F.3d at 119.

              The D.C. Circuit’s opinion in United States v. Griffith, 867 F.3d 1265

        (D.C. Cir. 2017), is instructive. Police in that case obtained a warrant to

        search an apartment that the defendant, who had recently been released

        from jail, shared with his girlfriend. Griffith, 867 F.3d at 237-38. The

        affidavit asserted probable cause to believe the defendant had been the

        getaway driver in a gang-related murder more than a year previously. Id.

        at 238. Among the items the warrant authorized police to seize were “all

        electronic devices to include, but not limited to cellular telephone(s),

        computer(s), electronic tablet(s), devices capable of storing digital images

        (to include, but not limited to, PDAs, CDs, DVD’s [and] jump/zip drives).”

        Id. at 238. To establish probable cause for these items, the warrant
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        application claimed that “gang/crew members involved in criminal

        activity maintain regular contact with each other, even when they are

        arrested or incarcerated, and that they often stay advised and share

        intelligence about their activities through cell phones and other electronic

        communication devices and the Internet, to include Facebook, Twitter and

        E-mail accounts.” Id.

              The D.C. Circuit held the affidavit failed to establish probable cause

        that police would find a cell phone belonging to the defendant in his

        apartment. Id. at 239-40. While acknowledging that most people today

        own cell phones, the court concluded the affidavit “conveyed no reason to

        think that [the defendant], in particular, owned a cell phone”:

              There was no observation of [the defendant] using a cell phone,
              no information about anyone having received a cell phone call
              or text message from him, no record of officers recovering any
              cell phone in his possession at the time of his previous arrest
              (and confinement) on unrelated charges, and no indication
              otherwise of his ownership of a cell phone at any time.

        Id. at 241. Moreover, even if the defendant did own a cell phone, “the

        affidavit set out no reason to believe the phone was likely to be found at

        the place to be searched,” i.e., his apartment. Id. at 242. After all, a cell

        phone “is nearly a ‘feature of human anatomy,’” and “[p]eople ordinarily


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        carry their cell phones with them wherever they go.” Id. (quoting Riley, 573

        U.S. at 385). Thus a warrant can authorize a search of an apartment for a

        cell phone only if the affidavit establishes probable cause to believe “the

        person (and his cell phone) would be home” at the time of the search. Id.

        Because the affidavit in Griffith did not do so, the warrant was invalid. Id.

        at 244.

              It was invalid for another reason as well: “[i]t broadly authorized

        seizure of all cell phones and electronic devices, without regard to

        ownership.” Id. at 245 (emphasis in original). “That expansive sweep,” the

        court held, “far outstripped the police’s proffered justification for entering

        the home—viz., to recover any devices owned by [the defendant].” Id. At

        most, the affidavit established probable cause to believe the defendant had

        been involved in a murder; it gave no reason to suspect other people of

        involvement. Id. But the warrant authorized seizure of cell phones

        belonging to anyone else at the house, such as the defendant’s girlfriend,

        “even if police knew the device belonged to someone other than [the

        defendant].” Id. (emphasis in original).

              And the “warrant’s overbreadth [wa]s particularly notable because

        police sought to seize otherwise lawful objects: electronic devices.” Id.
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        Because a “warrant must be tailored to the justifications for entering the

        home,” even the government conceded the warrant in Griffith was “invalid

        insofar as it authorized the seizure of all devices found in the apartment

        without regard to ownership.” Id. at 245-46.

              The state warrant in this case is overbroad for all the same reasons as

        the warrant in Griffith. The affidavit demonstrated Mr. Grinder owned a

        cell phone (from which he sent text messages to Alesha), but it included no

        information whatsoever establishing he owned a computer as well. See id.

        at 241-42 (noting “roughly 75%” of American adults own a computer and

        observing that despite higher rate of cell phone ownership, “[w]e are aware

        of no case, and the government identifies none, in which police obtained

        authorization to search a suspect’s home for a cell phone without any

        particularized information that he owned one”). Furthermore, the affidavit

        not only gave no reason to believe Mr. Grinder’s cell phone would be at his

        house—it provided affirmative reason to believe it would not be, since Mr.

        Grinder had left the home with his cell phone and had no immediate plans

        to return. Accord United States v. Holtzclaw, 2018 WL 3128999, at *6

        (M.D.N.C. June 26, 2018) (“While it is reasonable to infer that the nature of



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        some items suggests the item might be found in the home, . . . such an

        inference would not apply to a cell phone.”).

              And as in Griffith, the warrant in this case granted authority to seize

        “any and all” cellphones and computers, “without regard to ownership.”

        867 F.3d at 245, 247. But the supporting affidavit established, at most,

        probable cause to believe evidence would be found on Mr. Grinder’s

        devices. The affidavit therefore failed to demonstrate probable cause as to

        “each item on the list” of items to be seized, i.e., cellphones and computers

        belonging to people other than Mr. Grinder. Ninety-Two Thousand Four

        Hundred Twenty-Two Dollars and Fifty-Seven Cents, 307 F.3d at 148; see also,

        e.g., United States v. Jackson, 2018 WL 2220277, at *5 n.2 (E.D. Mich. May 15,

        2018) (concluding a warrant “authoriz[ing] the seizure of electronic devices

        belonging to third parties unconnected to [a] homicide investigation” has

        “an indiscriminate sweep [that] is constitutionally intolerable”).

              Accordingly, the state warrant was invalid to the extent it authorized

        the seizure of Mr. Grinder’s cell phone and laptop. Because the warrant

        did not authorize their seizure, it also necessarily could not—and did not—

        authorize a search of those devices. Evidence from the cell phone and

        laptop should have been suppressed. See United States v. Stephens, 764 F.3d
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        327, 335 (4th Cir. 2014) (“The exclusionary rule generally prohibits the

        introduction at criminal trial of evidence obtained in violation of a

        defendant’s Fourth Amendment rights.”).

                    3.      The good faith exception does not apply.

              The district court held that even if the state warrant was unsupported

        by probable cause, suppression of evidence recovered from Mr. Grinder’s

        devices was improper because the executing officers could have relied on

        the warrant in good faith. J.A. 188. Under the good faith exception to the

        exclusionary rule, “evidence obtained by an officer who acts in objectively

        reasonable reliance on a search warrant will not be suppressed, even if the

        warrant is later deemed invalid.” United States v. Thomas, 908 F.3d 68, 72

        (4th Cir. 2018). The exception does not apply, however, if the affidavit is

        “so lacking in indicia of probable cause as to render official belief in its

        existence entirely unreasonable.” United States v. McLamb, 880 F.3d 685, 690

        (4th Cir. 2018).

              Relying on this principle, the D.C. Circuit in Griffith found the good

        faith exception inapplicable because: (1) “the affidavit failed to establish

        probable cause to believe that any cell phone (or other electronic device)

        containing incriminating information about [the defendant’s] suspected

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        offense would be found in the apartment,” and (2) “[n]othing in the

        affidavit or warrant supported—or could have supported—probable cause

        to seize any and all phones, tablets, computers, and other electronic devices

        in the apartment.” 867 F.3d at 247-48 (emphasis in original). The same is

        true here. Detective Emminizer and Trooper Barry’s affidavit strongly

        suggested Mr. Grinder’s phone was not at his home, and it gave no reason

        to believe any computer would be found there. Moreover, because the only

        crimes the affidavit alleges are Mr. Grinder’s abuse of Jane Doe, nothing in

        that affidavit supported probable cause to seize “any and all” electronic

        devices in the home, regardless of ownership. Id.

              A reasonable police officer could not have believed the state warrant

        licensed seizure of the items police recovered on November 29, 2016. The

        good faith exception is inapplicable.

        II.   A full-scale forensic examination of Mr. Grinder’s laptop was
              beyond the scope of the state warrant.

              Even assuming the state warrant properly authorized police to seize

        Mr. Grinder’s laptop, the HSI analyst exceeded the scope of that warrant

        when he searched parts of the laptop that he had no reason to believe

        would contain evidence of sexual abuse.



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              A.    Standard of review

              “Whether a search is within the scope of a warrant is a question of

        law subject to de novo review.” United States v. Srivastava, 540 F.3d 277, 287

        (4th Cir. 2008).

              B.    Argument
                    1.      Police may search only those parts of a computer
                            likely to contain the items for which probable cause
                            exists.

              “A search conducted pursuant to a warrant is limited in scope by the

        terms of the warrant’s authorization.” United States v. Phillips, 588 F.3d 218,

        223 (4th Cir. 2009). To prevent a warrant search from becoming “a general,

        exploratory rummaging in a person’s belongings,” courts generally require

        the authorizing warrant to “particularly describe the place to be searched,

        and the persons or things to be seized.” United States v. Kimble, 855 F.3d

        604, 610 (4th Cir. 2017). This “particularity requirement . . . is fulfilled

        when the warrant identifies the items to be seized by their relation to

        designated crimes and when the description of the items leaves nothing to

        the discretion of the officer executing the warrant.” United States v. Dargan,

        738 F.3d 643, 647 (4th Cir. 2013).

              Satisfying the particularity requirement can be difficult in the context

        of electronic searches, especially searches of computers. That is because
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        “[c]omputer files can be misnamed by accident, disguised by intention, or

        hidden altogether, leaving investigators at a loss to know ex ante what sort

        of search will prove sufficient to ferret out the evidence they legitimately

        seek.” United States v. Christie, 717 F.3d 1156, 1166 (10th Cir. 2013); see also,

        e.g., United States v. Hill, 459 F.3d 966, 978 (9th Cir. 2006) (“Images can be

        hidden in all manner of files, even word processing documents and

        spreadsheets. Criminals will do all they can to conceal contraband,

        including the simple expedient of changing the names and extensions of

        files to disguise their content from the casual observer.”). As a result,

        courts have in some cases relaxed the particularity requirement as it

        applies to computer searches, in recognition that there may be no way to

        know, before executing a search of a computer, exactly where officers are

        likely to find the objects of their search. See, e.g., United States v. Loera, 923

        F.3d 907, 917 (10th Cir. 2019) (“[I]t is unrealistic to expect a warrant

        prospectively to restrict the scope of a search by directory, filename or

        extension or to attempt to structure search methods.”).

              At the same time, courts have recognized that “granting the

        Government a carte blanche to search every file on the hard drive

        impermissibly transforms a limited search into a general one.” United
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        States v. Stabile, 633 F.3d 219, 237 (3d Cir. 2011) (emphasis in original); see

        also, e.g., United States v. Galpin, 720 F.3d 436, 447 (2d Cir. 2013) (“There is

        . . . a serious risk that every warrant for electronic information will become,

        in effect, a general warrant, rendering the Fourth Amendment irrelevant.”);

        United States v. Comprehensive Drug Testing, Inc., 621 F.3d 1162, 1176 (9th

        Cir. 2010) (en banc) (same), overruling on other grounds recognized by United

        States v. Cano, --- F.3d ---, 2019 WL 3850607 (9th Cir. Aug. 16, 2019).

              These two interests—affording law enforcement flexibility when

        executing a computer search, and protecting search subjects’ electronic

        privacy—are “in tension with each other,” and courts have “grappled with

        how to balance” them. United States v. Richards, 659 F.3d 527, 538 (6th Cir.

        2011). Under the balance that courts have generally struck, a broadly

        worded warrant may authorize a computer search in facially expansive

        terms, but police officers may not execute the warrant in a way that

        unreasonably invades protected privacy interests. Officers’ respect for the

        scope of a warrant, in other words, is determined not by the warrant’s

        prospective description of the places to be searched and items to be seized,

        but by a retrospective judicial assessment of whether officers limited their

        search to places likely to contain the items for which probable cause exists.
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              As then-Judge Gorsuch explained in an opinion for the Tenth Circuit:

              Even putting aside for the moment the question what
              limitations the Fourth Amendment’s particularity requirement
              should or should not impose on the government ex ante, the
              Amendment’s protection against “unreasonable” searches
              surely allows courts to assess the propriety of the government’s
              search methods (the how) ex post in light of the specific
              circumstances of each case. So even if courts do not specify
              particular search protocols up front in the warrant application
              process, they retain the flexibility to assess the reasonableness
              of the search protocols the government actually employed in its
              search after the fact, when the case comes to court, and in light
              of the totality of the circumstances.

        Christie, 717 F.3d at 1166-67 (citation omitted) (emphasis in original); see

        also, e.g., Archer v. Chisholm, 870 F.3d 603, 617 (7th Cir. 2017) (“The target’s

        privacy interest in unrelated materials is typically addressed by the search

        methods used by the police after seizure, because an ex ante screen is

        impossible.”). Courts’ “ex post assessment of the propriety of a

        government search is essential to ensuring that the Fourth Amendment’s

        protections are realized” in the context of computer searches. Loera, 923

        F.3d at 917.

              In conducting this after-the-fact review, courts “employ[] the Fourth

        Amendment’s bedrock principle of reasonableness on a case-by-case

        basis.” Richards, 659 F.3d at 538; see also Loera, 923 F.3d at 916


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        (“Determining whether a search exceeds the scope of its authorizing

        warrant is, like most inquiries under the Fourth Amendment, an exercise in

        reasonableness assessed on a case-by-case basis.”). Traditional principles

        of reasonableness dictate that “the scope of a lawful search is defined by

        the object of the search and the places in which there is probable cause to

        believe that it may be found.” Maryland v. Garrison, 480 U.S. 79, 84 (1987).

        Consistent with this principle, a warrant “limit[s] the authorization to

        search to the specific areas and things for which there is probable cause to

        search.” Horton v. California, 496 U.S. 128, 139 n.10 (1990). The Supreme

        Court has put it this way: “Just as probable cause to believe that a stolen

        lawnmower may be found in a garage will not support a warrant to search

        an upstairs bedroom, probable cause to believe that undocumented aliens

        are being transported in a van will not justify a warrantless search of a

        suitcase.” United States v. Ross, 456 U.S. 798, 824 (1982); see also Archer, 870

        F.3d at 617 (“The objects of the search set the boundaries of the scope; if

        you are looking for an adult elephant, searching for it in a chest of

        draw[er]s is not reasonable.”).

              In the computer-search context, therefore, courts ask “whether the

        forensic steps of the search process were reasonably directed at uncovering
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        the evidence specified in the search warrant.” Loera, 923 F.3d at 917.

        Searches of “digital media” must be “narrowly tailored to uncover only

        those things described” in the warrant, United States v. Mann, 592 F.3d 779,

        786 (7th Cir. 2010), and officers should “conduct the search in a way that

        avoids searching files of types not identified in the warrant,” United States

        v. Evers, 669 F.3d 645, 653 (6th Cir. 2012). Thus investigators may search

        only “in places where [the items to be seized] might logically be found”

        and in places that “would be most likely to contain” those items. Loera, 923

        F.3d at 918.

              In determining what digital evidence a warrant authorizes officers to

        search for—and therefore which parts of a computer they may search—

        courts look to “the text of the warrant, with due regard to context, coupled

        with the specifics of the supporting affidavit.” United States v. Burgess, 576

        F.3d 1078, 1092 (10th Cir. 2009). Use of the affidavit to clarify the scope of a

        computer-search warrant comports with this Court’s case law holding that

        when deciding “[w]hether a search is within the scope of a warrant,” courts

        “are obliged to assess the contents of a search warrant and its supporting

        affidavits in a commonsense and realistic fashion.” Srivastava, 540 F.3d at

        287 (emphasis added); accord United States v. Riesselman, 646 F.3d 1072, 1077
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        (8th Cir. 2011) (“Although a search warrant must be particular, adequate

        reference to an affidavit or attachment listing items to be searched or seized

        can satisfy the requirement.”); United States v. Hitchcock, 286 F.3d 1064, 1071

        (9th Cir. 2002) (“In determining whether or not a search is confined to its

        lawful scope, it is proper to consider both the purpose disclosed in the

        application for a warrant’s issuance and the manner of its execution.”).

                    2.    The initial forensic examination of Mr. Grinder’s
                          laptop exceeded the scope of the state warrant.

              Here, the state warrant authorized police to “[s]eize and have

        forensically analyzed . . . any cellular telephones” or “computers” in Mr.

        Grinder’s home. S.J.A. 7. The warrant itself did not provide any

        limitations on what types of electronic data examiners could seize, or on

        which parts of the seized computers they could search for those data. But

        as explained above, “granting the Government a carte blanche to search

        every file on [a] hard drive impermissibly transforms a limited search into a

        general one,” in violation of the Fourth Amendment. Stabile, 633 F.3d at

        237. Courts decline to read facially unparticularized computer-search

        warrants this way. See, e.g., Burgess, 576 F.3d at 1091 (adopting narrowing

        construction of warrant because “[i]f the warrant is read to allow a search



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        of all computer records without description or limitation it would not meet

        the Fourth Amendment’s particularity requirement”).

              The state warrant should therefore be read with reference to

        Detective Emminizer and Trooper Barry’s supporting affidavit. See id. at

        1092; Srivastava, 540 F.3d at 287. That affidavit asserted probable cause to

        believe Mr. Grinder’s home—and any cell phones and computers within

        it—would contain evidence of five enumerated crimes: child abuse of a

        minor, second-degree rape, sexual offense in the second degree, sexual

        offense in the third degree, and sexual abuse of a minor. S.J.A. 1. The only

        basis the affidavit supplied to believe a laptop would contain evidence of

        hands-on sexual-abuse offenses is the allegation that (1) Mr. Grinder

        “orders [Clonazelam] via the Internet,” and (2) Alesha said the Robitussin

        in Jane Doe’s room, which she “assumed” Mr. Grinder had given to Jane

        Doe, tasted like Clonazelam. S.J.A. 3.

              To the extent that evidence of the enumerated crimes would be found

        on a laptop, therefore, it would be in the form of a browser history listing

        websites from which Mr. Grinder purchased Clonazelam. The affidavit

        does not establish, or even attempt to establish, probable cause to believe

        that evidence of Mr. Grinder’s Clonazelam purchase would be found in
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        any part of his laptop other than the browser history. Specifically, it gives

        no reason whatsoever to believe that any files on his laptop—whether

        Word documents, videos, photographs, or otherwise—would contain

        evidence of purchasing Clonazelam, and thus of sexual abuse. The file

        directories of Mr. Grinder’s laptop are not a location in which the object of

        the search (websites indicative of Clonazelam purchases) “might logically

        be found.” Loera, 923 F.3d at 918.

              The search of Mr. Grinder’s laptop ended up revealing images of

        child pornography, but at the time police applied for and executed the state

        warrant, they had no reason to believe Mr. Grinder had produced or

        possessed child pornography. Detective Emminizer and Trooper Barry’s

        affidavit did not seek authorization to search for evidence of child

        pornography, and the state warrant did not grant it. Rather, the only

        crimes identified in the state warrant were sexual-abuse offenses. And this

        Court has held that “evidence of child molestation alone does not support

        probable cause to search for child pornography.” United States v. Doyle, 650

        F.3d 460, 472 (4th Cir. 2011). Thus the state warrant in this case cannot be

        read as authorizing police to search in those parts of the laptop that might

        contain child pornography, e.g., the photo or video directories.
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               Instead, the warrant, read “with due regard to context, coupled with

        the specifics of the supporting affidavit,” Burgess, 576 F.3d at 1092, licensed

        a search for only one type of evidence: visits to websites from which Mr.

        Grinder might have purchased Clonazelam. Those websites—and only

        those websites—were “the object of the search” permitted by the state

        warrant because they are the only evidence for which probable cause

        existed. Garrison, 480 U.S. at 84. Police were therefore empowered to

        search only “the places in which there is probable cause to believe that

        [those websites might] be found.” Id. And the only place fitting that

        description is the laptop’s browser history. Because the file directories on

        Mr. Grinder’s laptop were not “most likely to contain” the evidence

        sought, investigators were not permitted to search there. Loera, 923 F.3d at

        918.

               Reading the state warrant more broadly—e.g., as authorizing a

        search of some or all of the laptop’s files—would violate the foundational

        Fourth Amendment principle that a warrant “limit[s] the authorization to

        search to the specific areas and things for which there is probable cause to

        search.” Horton, 496 U.S. at 139 n.10. There was no probable cause to

        believe evidence of sexual abuse would be found in the laptop’s files, and
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        the warrant therefore did not permit a search of those files. By rummaging

        through the laptop’s files, the HSI forensic analyst failed to limit his search

        to steps that “were reasonably directed at uncovering the evidence

        specified in the search warrant.” Loera, 923 F.3d at 917. Because that search

        exceeded the scope of the state warrant, its fruits were seized in violation of

        Mr. Grinder’s Fourth Amendment rights. Phillips, 588 F.3d at 223.

                    3.    This Court’s opinion in Williams does not govern
                          this case.

              Citing this Court’s opinion in United States v. Williams, 592 F.3d 511

        (4th Cir. 2010), the district court held the HSI analyst’s initial examination

        of the laptop stayed within the scope of the state warrant because “a

        forensic search of a laptop, authorized by a warrant, includes ‘the authority

        to open and cursorily view each file.’” J.A. 190. Williams cannot bear the

        weight the district court placed on it.

              The police in Williams learned that a church had received a number of

        threatening emails in which the sender described himself as a pedophile

        and discussed his desire to sexually molest specific children who attended

        the church. 592 F.3d at 514-15. Police applied for a warrant to search a

        home tied to an internet account that had been used to send several of the



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        emails. Id. at 515. In the warrant application, the affiant wrote that in his

        training and experience, “adults who are engaged in the sexual

        exploitation of children keep images and related documents with them.

        They also collect images and texts describing sexual interaction with

        minors and child erotica.” Id. The warrant authorized officers to seize

        from the home:

              Any and all computer systems and digital storage media,
              videotapes, videotape recorders, documents, photographs, and
              Instrumentalities indicative of the offense of § 18.2–152.7:1
              Harassment by Computer and § 18.2–60 Threats of death or
              bodily injury to a person or member of his family; threats to
              commit serious bodily harm to persons on school property,
              Code of Virginia (as amended).

        Id. at 515-16.

              While searching a computer found in the defendant’s home,

        investigators discovered deleted images of child erotica. Id. at 516. A

        search of a DVD taken from the home also revealed 39 images of child

        pornography. Id. After being indicted for possession of child

        pornography, the defendant moved to suppress the images from the DVD,

        arguing the seizure “exceeded the scope of the warrant and was not

        justified by the plain-view exception to the warrant requirement.” Id.



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              This Court upheld the search. It reasoned, first, that the warrant

        “authorize[d] a search for instrumentalities of computer harassment and

        ‘photographs . . . indicative of’ this offense, which involves communicating

        ‘obscene, vulgar, profane, lewd, lascivious, or indecent language,’ or

        making a ‘suggestion or proposal of an obscene nature,’ or threatening an

        ‘illegal or immoral act.’” Id. at 520 (ellipsis in original) (quoting Va. Code

        Ann. § 18.2–152.7:1). Given that the threatening emails came from a self-

        identified pedophile, the Court concluded that “pornographic images

        involving children were relevant to demonstrating the authorship and

        purpose of the e-mails.” Id. The images therefore fell within the scope of

        the warrant as “instrumentalities” of the enumerated crimes. Id. at 520-21.

              The Court also held, in the alternative, that seizure of the images was

        proper under the plain view exception to the warrant requirement. Id. at

        521. Pursuant to that exception, “police may seize evidence in plain view

        during a lawful search if (1) the seizing officer is lawfully present at the

        place from which the evidence can be plainly viewed; (2) the seizing officer

        has a lawful right of access to the object itself; and (3) the object’s

        incriminating character is . . . immediately apparent.” Id. (ellipsis in

        original). The Court explained:
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              In this case, the warrant authorized a search of [the
              defendant’s] computers and digital media for evidence relating
              to the designated Virginia crimes of making threats and
              computer harassment. To conduct that search, the warrant
              impliedly authorized officers to open each file on the computer
              and view its contents, at least cursorily, to determine whether
              the file fell within the scope of the warrant’s authorization—i.e.,
              whether it related to the designated Virginia crimes of making
              threats or computer harassment.

        Id. at 521-22. Because the warrant authorized police to search the files on

        the defendant’s digital media, and because the incriminating nature of

        child pornography is immediately apparent, the plain view exception

        applied. Id. at 522.

              The statement from Williams that the district court quoted—that a

        warrant search of a computer “include[s] the authority to open and

        cursorily view each file,” id. at 523—does not apply here. The affidavit in

        Williams contained an assertion that, in the affiant’s training and

        experience, “adults who are engaged in the sexual exploitation of children

        keep images and related documents with them” and “collect images and

        texts describing sexual interaction with minors and child erotica.” Id. at

        515. The affidavit therefore established probable cause to believe a

        computer at the sender’s home would contain images of child erotica or

        child pornography, and the warrant specifically authorized police to seize

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        “photographs . . . indicative of” the enumerated offenses, which, the Court

        concluded, included sexually explicit images of children. Id. at 521 (ellipsis

        in original).

              It was in this context—where a warrant explicitly authorized a search

        for certain electronic files, and the affidavit established probable cause to

        believe those files contained evidence of a crime—that the Williams Court

        said investigators may open and cursorily inspect all of a computer’s files.

        This conclusion makes sense. After all, to be effective, a search for the

        specified files “could not be limited to reviewing only the files’ designation

        or labeling, because the designation or labeling of files on a computer can

        easily be manipulated to hide their substance. Surely, the owner of a

        computer, who is engaged in criminal conduct on that computer, will not

        label his files to indicate their criminality.” Id. at 522. But Williams did not

        address a situation like the one in this case, where (1) the warrant affidavit

        does not assert probable cause to believe electronic devices will contain




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        photographs (or other files) indicative of a crime, and (2) the warrant does

        not expressly authorize a search for files of any kind.5

              Reading Williams to apply to a case like Mr. Grinder’s would be

        inconsistent with basic principles of Fourth Amendment law. As the

        Supreme Court has made clear, a warrant “limit[s] the authorization to

        search to the specific areas and things for which there is probable cause to

        search.” Horton, 496 U.S. at 139 n.10. Thus if “the object of a search is likely

        to be an image file, . . . there may be no practical substitute for actually

        looking in many (perhaps all) folders and sometimes at the documents




              5 Williams was decided in 2010, before this Court’s opinion in Doyle.
        Following Doyle, which held that “evidence of child molestation alone does
        not support probable cause to search for child pornography,” 650 F.3d at
        472, it is not clear the warrant in Williams could still establish probable
        cause to search for images on a computer. Regardless, this Court need not
        resolve that question in this case, for two reasons. First, the defendant in
        Williams did not dispute the existence of probable cause; he challenged
        only “(1) whether the government’s search for and seizure of child
        pornography fell within the scope of the warrant’s authorization; and
        (2) whether the evidence of child pornography was in any event properly
        seized under the plain-view exception to the warrant requirement.” 592
        F.3d at 519. Thus the Court in Williams, at most, assumed probable cause
        existed. Second, and more important, even if Williams can be reconciled
        with Doyle, the state warrant affidavit in Mr. Grinder’s case did not contain
        allegations like those in Williams, e.g., that people who engage in child
        molestation often keep sexually explicit images of children on their
        computers. The warrant in this case, therefore, cannot be read to authorize
        a search for images of any kind.
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        contained within those folders.” Loera, 923 F.3d at 919 (emphasis added);

        see also, e.g., Richards, 659 F.3d at 540 (explaining that “warrant authorizing

        broad search of personal computer for child pornography” was permissible

        where “the officers knew . . . that a video and photographs of the alleged

        incident supposedly existed,” but “not the particular format in which these

        items were being kept” (citing United States v. Summage, 481 F.3d 1075,

        1079-80 (8th Cir. 2007)) (emphasis added)).

              But it does not follow that, if the object of the search is not likely to be

        an image file—and indeed, is not likely to be a file at all—police may still

        search all of a computer’s folders and documents. “Just as probable cause

        to believe that a stolen lawnmower may be found in a garage will not

        support a warrant to search an upstairs bedroom,” Ross, 456 U.S. at 824,

        probable cause to believe evidence of a crime may be found in a laptop’s

        browser history will not support a warrant to search the laptops’s file

        directories.

              Even Williams implicitly acknowledged this limitation. To support

        the proposition that officers executing a computer-search warrant may

        “open each file on the computer and view its contents, at least cursorily,”

        Williams cited to footnote eleven in Andresen v. Maryland, 427 U.S. 463
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        (1976). 592 F.3d at 521-22. Elsewhere in the opinion, the Williams Court

        described the teaching of that footnote as follows: “When a search requires

        review of a large collection of items, such as papers, ‘it is certain that some

        innocuous documents will be examined, at least cursorily, in order to

        determine whether they are, in fact, among those papers authorized to be

        seized.’” Id. at 519-20 (quoting Andresen, 427 U.S. at 482 n.11) (emphasis

        added). The unspoken corollary to this principle is that when a search

        does not require review of a large collection of papers, review of innocuous

        documents is not permitted.

              Mr. Grinder’s case—unusual among challenges to computer-search

        warrants—fits this latter category: the only evidence that police had

        probable cause to believe might be on his laptop was visits to certain

        websites, and the only location likely to contain that evidence was his

        browser search history. A review of a large number of files or documents

        was therefore unnecessary, and the state warrant cannot be read to

        authorize a search through the files on Mr. Grinder’s laptop. The child

        pornography discovered during HSI’s initial forensic examination of that

        laptop was seized in violation of the Fourth Amendment and therefore

        should have been suppressed.
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                      4.    The good faith exception does not apply.

                The good faith exception to the exclusionary rule does not apply

        here.

                In United States v. Leon, 468 U.S. 897 (1984), which first recognized the

        good faith exception, the Supreme Court explained that “[i]f exclusion of

        evidence obtained pursuant to a subsequently invalidated warrant is to

        have any deterrent effect” on police misconduct, it “must alter the behavior

        of individual law enforcement officers or the policies of their departments.”

        468 U.S. at 918. Because suppressing evidence seized under a warrant

        “punish[es] the errors of judges and magistrates,” rather than deterring

        police misconduct, it does not promote the goals the exclusionary rule is

        designed to serve. Id. at 916.

                The Court cautioned, however, that its “discussion of the deterrent

        effect of excluding evidence obtained in reasonable reliance on a

        subsequently invalidated warrant assumes, of course, that the officers

        properly executed the warrant and searched only those places and for

        those objects that it was reasonable to believe were covered by the

        warrant.” Id. at 918 n.19. Suppressing evidence that is outside the scope of

        a warrant, in other words, deters police misconduct because officers do not

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        act in reasonable reliance on that warrant when they seize items, or search

        in places, not covered by the warrant. There is nothing reasonable about

        seizing items a warrant does not authorize police to seize.

              Numerous courts have therefore held that “the Leon good faith

        exception will not save an improperly executed warrant.” United States v.

        Angelos, 433 F.3d 738, 746 (10th Cir. 2006); see also, e.g., United States v.

        Ewain, 88 F.3d 689, 695 (9th Cir. 1996) (“In this case, we agree with the

        district judge’s finding that the search was in good faith, in the objective

        sense that it did not go outside the scope authorized by the search

        warrant.”); United States v. Curzi, 867 F.2d 36, 44 (1st Cir. 1989) (“[T]he good

        faith exception . . . will not be applied unless the officers executing search

        warrants, at the very minimum, act within the scope of the warrants and

        abide by their terms.” (ellipsis in original)); United States v. Long, 797 F.3d

        558, 566 (8th Cir. 2015) (“Under the good-faith exception, evidence is not

        excluded when an officer acting with objective good faith has obtained a

        search warrant from a judge or magistrate and acted within its scope, even if

        the warrant is subsequently invalidated.” (emphasis added)).

              This Court, too, has recognized that “the deterrence purpose of the

        exclusionary rule is not achieved through the suppression of evidence
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        obtained by an officer acting with objective good faith within the scope of a

        search warrant issued by a magistrate.” Perez, 393 F.3d at 461 (emphasis

        added); cf. Buonocore v. Harris, 65 F.3d 347, 356 (4th Cir. 1995) (“[A]

        reasonable officer would be aware . . . of the rule confining the search to

        items particularly described in the warrant. Nor is there any question that

        those conducting the search may only actively search for the items listed in

        the warrant.” (ellipsis in original)).

               As explained above, the child pornography images in the file

        directories of Mr. Grinder’s laptop were outside the scope of the state

        warrant. The good faith exception therefore does not apply, and any

        evidence discovered during the initial examination of Mr. Grinder’s laptop

        should have been suppressed.

        III.   The federal warrants were tainted by evidence illegally
               obtained from the initial examination of Mr. Grinder’s laptop.

               Agent Federico used the images seized from Mr. Grinder’s laptop to

        establish probable cause in his affidavit supporting the federal warrants.

        Those warrants were therefore tainted by the unlawful initial examination

        of the laptop, and all evidence seized under the federal warrants should

        have been suppressed.



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              In district court, the government attempted to evade this rule by

        arguing that even if the initial investigation of Mr. Grinder’s laptop was

        unlawful, all evidence seized pursuant to the follow-up federal warrants is

        nevertheless admissible because those warrants’ supporting affidavit

        contained sufficient untainted information to establish probable cause.

        S.J.A. 55-56. This argument, which is rooted in the “independent source”

        doctrine, is unavailing.

              A.    Standard of review

              On appeal from a suppression motion involving the independent

        source doctrine, this Court “review[s] legal conclusions de novo and

        factual findings for clear error.” See United States v. Mowatt, 513 F.3d 395,

        399, 403-04 (4th Cir. 2008), abrogated on other grounds by Kentucky v. King, 563

        U.S. 452 (2011)

              B.    Legal background

              “[T]he exclusionary rule encompasses both the primary evidence

        obtained as a direct result of an illegal search or seizure and . . . evidence

        later discovered and found to be derivative of an illegality, the so-called

        ‘fruit of the poisonous tree.’” Utah v. Strieff, 136 S. Ct. 2056, 2061 (2016).

        The exclusionary rule does not apply, however, if suppression of evidence


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        “would put the police in a worse position than they would have been in

        absent any error or violation.” Mowatt, 513 F.3d at 403-04. Therefore,

        “under the ‘independent source’ doctrine, when the police discover a

        particular fact by illegal means but later acquire knowledge of that same

        fact by independent, legitimate means, evidence of that fact is not

        excludable as fruit of the police misconduct.” Id. at 404.

              If execution of a search warrant is preceded by an illegal search of the

        same location, “the evidence recovered in the later search is not admissible

        unless the government establishes that no information gained from the

        illegal search affected either the law enforcement officers’ decision to seek a

        warrant or the magistrate’s decision to grant it.” Id. “[T]he determination

        of the existence of these factors should be supported by adequate findings

        by the district court.” United States v. Campbell, 945 F.2d 713, 716 (4th Cir.

        1991).

              C.    Argument
                    1.    The government has waived its right to argue that
                          the independent source doctrine applies.

              Mr. Grinder’s reply brief in district court argued the government

        would be unable to carry its burden of showing that discovery of the

        images on Mr. Grinder’s laptop did not affect investigators’ decision to

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        seek the federal warrants. J.A. 80-83. Despite submitting multiple

        additional filings addressing Mr. Grinder’s suppression motion, see J.A. 85-

        86, 90-91, the government never disputed that the child pornography

        recovered from the laptop “affected . . . law enforcement officers’ decision

        to seek [the federal] warrant[s].” Mowatt, 513 F.3d at 404.

              Nor did the government put on any testimony at the evidentiary

        hearing to establish that, even absent the initial examination of the laptop,

        HSI would still have sought the federal warrants. And during oral

        argument at the end of the hearing, the government did not contend the

        results of the initial computer search did not affect HSI’s decision to seek

        the federal warrants. J.A. 111-34, 137-38, 147-54, 161-63. Indeed, when

        defense counsel asserted the government could not show that the prior

        unlawful search did not “influence[] . . . the officer’s decision to seek a new

        warrant,” the government declined to argue otherwise. J.A. 163.

              The government had ample opportunity to attempt to carry its

        burden. It chose not to try. Because the government made no argument

        and put on no evidence below, the existence of the two independent source

        factors is not “supported by adequate findings by the district court,” as this

        Court requires. Campbell, 945 F.2d at 716. Accordingly, the government
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        has waived any argument that the federal warrants in this case were

        “genuinely independent” of the tainted evidence discovered during the

        initial examination of Mr. Grinder’s laptop. Id. This Court should hold the

        government to its waiver. See Holland v. Big River Minerals Corp., 181 F.3d

        597, 605 (4th Cir. 1999) (“[T]he failure to raise and preserve issue in district

        court waives consideration of that issue on appeal absent exceptional

        circumstances.”); United States v. Moussaoui, 483 F.3d 220, 234 n.11 (4th Cir.

        2007) (“Generally, issues that were not raised in the district court will not

        be addressed on appeal.”).

                    2.    The images illegally seized from Mr. Grinder’s
                          laptop affected investigators’ decision to seek the
                          federal warrants.

              If this Court addresses the government’s waived argument for the

        first time on appeal, it should hold the government cannot shoulder its

        burden of showing it would have sought the federal warrants even without

        discovery of the images on Mr. Grinder’s laptop. Other than those images,

        Agent Federico’s affidavit relied primarily on three categories of evidence:

                  information included in the state warrant application (e.g., Jane

                    Doe’s November 27, 2016 report to Alesha that Mr. Grinder had

                    been abusing her, Jane Doe’s statements to investigators on


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                    November 28, 2016, and Alesha’s allegation that Mr. Grinder

                    had given Jane Doe cough syrup containing narcotics); and

                  the results of a December 16, 2016 forensic exam of Jane Doe

                    that revealed “indications of a history of sexual abuse”; and

                  a new allegation that on December 2, 2016, Alesha informed

                    investigators that Jane Doe had told her “[Mr. Grinder] used his

                    cell phone to videotape [Jane Doe] performing oral sex on [Mr.

                    Grinder], and then ‘put it on the TV.’”

        S.J.A. 13-17.

              Evidence in the first category does nothing to suggest Mr. Grinder

        had been producing, receiving, or possessing child pornography, the

        crimes identified in Agent Federico’s affidavit. S.J.A. 9. That evidence

        suggests Mr. Grinder had been abusing Jane Doe, but “evidence of child

        molestation alone does not support probable cause to search for child

        pornography.” Doyle, 650 F.3d at 472. Thus this first category of evidence

        supplies no reason to believe investigators would have sought warrants to

        search for evidence of child pornography crimes.

              The second category of evidence also suggests Mr. Grinder (or

        someone else) may have been abusing Jane Doe. But, like the first, it does
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        nothing to indicate Mr. Grinder had committed child pornography

        offenses. It therefore does not support the conclusion that investigators

        would have sought warrants to search for evidence of child pornography

        crimes.

              That leaves the allegation that Mr. Grinder “used his cell phone to

        videotape [Jane Doe] performing oral sex on [Mr. Grinder], and then ‘put it

        on the TV.’” S.J.A. 16. Law enforcement agents became aware of this

        information on December 2, 2016. S.J.A. 16. They did nothing further until

        February 2017, when the HSI analyst “imaged” and searched Mr. Grinder’s

        laptop. J.A. 221. On March 16, 2017, investigators asked Jane Doe’s aunt to

        look at a “sanitized” version of one of the images found on Mr. Grinder’s

        laptop. S.J.A. 17. She confirmed that the child in the image was Jane Doe.

        S.J.A. 17. The next day, March 17, 2017, Agent Federico submitted his

        application in support of the federal warrants. S.J.A. 19.

              This timeline strongly suggests it was the images found on Mr.

        Grinder’s laptop—and not Jane Doe’s new allegation that Mr. Grinder had

        recorded her on his phone—that prompted investigators to apply for the

        federal warrants. After learning of the filming allegation in December

        2016, investigators did not immediately seek a warrant. Indeed, they did
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        nothing at all for over two months. This inaction indicates investigators

        did not believe that the filming allegation, by itself, was sufficient reason to

        seek a warrant. It was not until March 17, 2017—the day after Jane Doe’s

        aunt identified her niece in an image from Mr. Grinder’s laptop—that

        Agent Federico sought the federal warrants. That investigators applied for

        the warrants so soon after tying Jane Doe to the images on Mr. Grinder’s

        laptop, and so long after learning of the filming allegation, demonstrates

        that information from the illegal search of that laptop “affected . . . law

        enforcement officers’ decision to seek [the federal] warrant[s].” Mowatt,

        513 F.3d at 404.6




              6 It is unclear why officers did not seek a warrant immediately after
        learning of the filming allegation. Perhaps they figured a second-hand
        accusation—relayed from Jane Doe to Alesha, and from Alesha to
        investigators—was unreliable. Or perhaps they suspected Alesha was not
        entirely credible. After all, Jane Doe told investigators that both her
        parents, not just Mr. Grinder, gave her cough medication that made her
        sleepy, and Alesha admitted to taking non-FDA-approved narcotics to treat
        her pain, which could affect her perception and memory. S.J.A. 15.
        Ultimately, however, this Court need not decide what motivated
        investigators. Whatever their reasons for not seeking a warrant on
        December 2, 2016, the fact remains that the filming allegation was not
        reason enough, in investigators’ minds, to seek a warrant. It is therefore
        clear that the images found on Mr. Grinder’s laptop—i.e., the only other
        evidence in Agent Federico’s affidavit that is indicative of child
        pornography offenses—affected the decision to seek the federal warrants.
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              Moreover, even if the government could establish that investigators

        would have sought a warrant for Mr. Grinder’s phone absent the illegally

        seized images, there is no reason to believe they would also have sought a

        warrant to search his laptop. Jane Doe alleged Mr. Grinder had recorded

        her on his cell phone and then “put it on the TV”; she did not say anything

        about Mr. Grinder’s laptop. S.J.A. 16. The only information tying the

        laptop to child pornography was the images discovered during the initial

        examination of that device. Thus those images clearly affected

        investigators’ decision to seek a warrant for the laptop.

              The government cannot save the federal warrants by noting Agent

        Federico’s affidavit asserts that (1) “[i]ndividuals who have a sexual

        interest in children or images of children may collect sexually explicit or

        suggestive materials,” and that (2) when they do so, they “often maintain

        their collections that are in a digital or electronic format in a safe, secure

        and private environment, such as a computer.” S.J.A. 10-11 (emphasis

        added). It is of course true that people with a sexual interest in children

        “may” collect sexually explicit images of children. It does not follow,

        however, that they are likely to do so, or that police have probable cause to

        believe such people actually possess such images. People with a sexual
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        interest in children “may” smoke marijuana as well, but this fact does not

        demonstrate probable cause to search such people’s homes for drugs.

        Some greater degree of probability is required. Cf. United States v. Gourde,

        440 F.3d 1065, 1072 (9th Cir. 2006) (explaining warrants can be valid if they

        assert possessors of child pornography “often” or “generally” retain those

        materials for extended periods of time).

              And in any event, even if Agent Federico’s boilerplate profile

        information would suffice to demonstrate probable cause, this fact does not

        demonstrate that investigators would actually have sought the federal

        warrant for Mr. Grinder’s laptop had they not discovered the images on

        that device. Police do not apply for a warrant every time they have

        probable cause. This Court cannot simply assume that, based on a single

        allegation involving Mr. Grinder’s cell phone, investigators would have

        sought a warrant for his laptop as well.

                    3.    Stripped of the illegally seized images, Agent
                          Federico’s affidavit does not establish probable
                          cause to search Mr. Grinder’s laptop.

              The government also cannot show that the images recovered from

        the initial examination of Mr. Grinder’s laptop did not “affect[] . . . the

        magistrate’s decision to grant [the federal warrant]” for that device.


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        Mowatt, 513 F.3d at 404. When deciding this question, courts “examine[]

        the search warrant affidavit absent the illegally-obtained information, to

        determine whether the untainted portion of the affidavit set forth probable

        cause.” United States v. Walton, 56 F.3d 551, 554 (4th Cir. 1995).

              With all reference to the illegally seized images removed, Agent

        Federico’s affidavit purports to establish probable cause based on: (1) Jane

        Doe’s statements to Alesha and law enforcement in November 2016, (2) the

        results of Jane Doe’s December 16, 2016 medical exam, (3) Jane Doe’s

        December 2, 2016 statement that Mr. Grinder filmed her on his cell phone,

        and (4) an assertion that people “who have a sexual interest in children or

        images of children may collect sexually explicit or suggestive material.”

        S.J.A. 10 (emphasis added). The first and second categories do nothing to

        demonstrate Mr. Grinder committed child pornography offenses. Doyle,

        650 F.3d at 472. The third category does suggest Mr. Grinder may have

        child pornography on his phone, but it does not establish a nexus between

        child pornography and his laptop. And for the reasons explained above,

        the fourth category—which simply asserts that people like Mr. Grinder

        “may” collect child pornography—adds nothing.



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              Agent Federico’s affidavit, once cleansed of the images illegally

        seized from the initial examination of the laptop, does not give rise to

        probable cause to search that device for child pornography. Accordingly,

        evidence seized pursuant to the federal laptop warrant does not come from

        an “independent source,” and it must therefore be suppressed. Mowatt,

        513 F.3d at 403-04; see Walton, 56 F.3d at 554.

                    4.    The good faith exception does not apply.

              This Court has held the good faith exception to the exclusionary rule

        does not apply when (1) police obtain a warrant based in part on illegally

        seized evidence, and (2) the government is unable to show that officers’

        “decision to seek the warrant—and thus involve the magistrate—was not

        prompted by the original illegal search.” Mowatt, 513 F.3d at 405. That is

        the case here. As explained above, the images illegally seized from Mr.

        Grinder’s laptop were described in Agent Federico’s affidavit, and they

        affected investigators’ decision to seek the federal warrants. The good faith

        exception is inapplicable.




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        IV.   The government’s four-month delay in obtaining the federal
              warrant for Mr. Grinder’s cell phone was unreasonable.
              A.    Standard of review

              With respect to the length of law enforcement’s delay in seeking a

        warrant, this Court “review[s] the factual findings in a suppression motion

        for clear error and the legal conclusions de novo.” Pratt, 915 F.3d at 271.

              B.    Argument

              The government argued in district court that, even if Mr. Grinder’s

        cell phone fell outside the scope of the state warrant, officers could lawfully

        seize the phone because they (1) had probable cause to arrest Mr. Grinder,

        and (2) faced exigent circumstances, i.e., Mr. Grinder’s possible destruction

        of evidence on his phone upon learning that police planned to execute a

        search warrant at his home. J.A. 85-86 (citing Cupp v. Murphy, 412 U.S. 291

        (1973)). Assuming for sake of argument that the warrantless seizure of the

        phone was proper, however, all evidence discovered on the phone still

        must be suppressed because investigators waited almost four months to




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        obtain a warrant authorizing a search of that phone, i.e., the federal

        warrant. This delay was unreasonable.7

              “A seizure that is lawful at its inception can nevertheless violate the

        Fourth Amendment because its manner of execution unreasonably

        infringes possessory interests.” Pratt, 915 F.3d at 271. To determine

        whether “an extended seizure violates the Fourth Amendment, [this Court]

        balance[s] the government’s interest in the seizure against the individual’s

        possessory interest in the object seized.” Id. In Pratt, where police lawfully

        seized a phone without a warrant and did not seek a search warrant for 31

        days, this Court held the delay to be unreasonable. Id. at 270, 273. Law

        enforcement agents in that case “failed to exercise diligence” in applying

        for a warrant, and the government therefore “ha[d] no persuasive

        justification” for the 31-day delay. Id. at 272. As a result, the delay

        infringed the defendant’s possessory interest in the phone, and all evidence




              7 The government never argued below that the combination of
        probable cause to arrest and exigent circumstances permitted police to
        search the phone, as opposed to simply seizing it to preserve the status quo
        as they sought a warrant.
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        eventually recovered from the phone should have been suppressed. Id. at

        272-73.

              Here, officers seized Mr. Grinder’s cell phone on November 29, 2016,

        and did not apply for a warrant to search it until March 17, 2017. In

        response to Mr. Grinder’s argument below that this delay was

        unreasonable, see J.A. 88-89, 196-201, the government never attempted to

        explain why applying for a warrant could legitimately require nearly four

        months. It merely argued, instead, that officers did not need to apply for a

        warrant at all because the state warrant already authorized a search of the

        phone. J.A. 90, 222-27, 229-30. The government therefore failed to establish

        it had any legitimate interest in such an extended delay. And even if the

        government could come up with some supposed interest at this late stage,

        it is hard to imagine how that interest could justify a delay of four months.

        If the 31-delay in Pratt was unreasonable, then the delay in this case, which

        was nearly four times longer, was unreasonable as well.




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              All evidence recovered from Mr. Grinder’s cell phone pursuant to the

        federal warrant should have been suppressed.8



                                         Conclusion

              The state warrant was overbroad insofar as it permitted seizure of all

        cell phones and computers in Mr. Grinder’s home. Even if the seizure of

        Mr. Grinder’s devices was proper, the HSI analyst exceeded the scope of

        the state warrant by searching parts of the laptop other than the internet

        browser’s search history. The federal warrants were therefore tainted by

        illegally seized evidence. The independent source doctrine cannot save the

        federal warrants, as the images from the initial examination of the laptop

        affected both officers’ decision to seek the federal warrants and, at least

        with respect to the laptop, the magistrate’s decision to grant them. Finally,

        assuming a warrantless seizure of Mr. Grinder’s phone was proper,

        investigators unreasonably delayed four months in seeking a search

        warrant.




              8 The government did not argue below that any exception to the
        warrant requirement justified seizure of the laptop. Mr. Grinder’s
        unreasonable-delay argument is therefore inapplicable to the federal
        warrant for that device.
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              All evidence found on both devices should have been suppressed.



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                         Statement Regarding Oral Argument

              Counsel for Appellant respectfully requests oral argument so that the

        issues above can be more fully presented for the Court’s consideration.




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                                  Certificate of Compliance


           1. This brief has been prepared in Microsoft Word using 14-point,

              proportionally spaced, serif typeface.


           2. Excluding the items identified in Federal Rule of Appellate Procedure

              32(f), this brief contains 12,922 words.



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                                   Certificate of Service

              I certify that on September 19, 2019, I electronically filed the

        foregoing brief with the Clerk of Court using the CM/ECF system, which

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